        Case 3:23-cv-04155-YGR Document 10-13 Filed 08/17/23 Page 1 of 7




 1 MICHAEL W. BIEN – 096891                      OREN NIMNI*
   ERNEST GALVAN – 196065                         Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                      AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                 Md. Bar No. 2112150205
 3 ROSEN BIEN                                    D DANGARAN*
   GALVAN & GRUNFELD LLP                          Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor               RIGHTS BEHIND BARS
   San Francisco, California 94105-1738          416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                     Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                   Telephone: (202) 455-4399
 6              egalvan@rbgg.com                 Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                             amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                      d@rightsbehindbars.org
                                                 *
 8 SUSAN M. BEATY – 324048                           Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF T
   themselves and all others similarly situated,           T        IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4313435.1]
       DECLARATION OF T         T        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-13 Filed 08/17/23 Page 2 of 7




 1                 I, T      T        , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from 2015 to present. In the future BOP may transfer me to other BOP facilities but at any
 7 point I could be transferred back to FCI Dublin.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     While at FCI Dublin, I witnessed sexual abuse by many staff including
13 Officer Smith, Warden Ray Garcia, and Officer Nunley. I first started noticing sexual
14 abuse and harassment by Officer Smith around 2019. Officer Smith gained the nickname
15 and reputation of “Dirty Dick Smith.” I saw him go into offices with other young women
16 and he would close the door and the blinds and turn off the lights. He also would look at
17 my roommate’s body like a piece of candy and flirted with many women. I observed he
18 liked one woman in particular and one day I saw that woman, who I knew as Flaca, giving
19 him a lap dance while he sat in a chair on the unit.
20                 5.     My close friend was also sexually abused by Warden Garcia. I used to pass
21 messages between the Warden and this friend. He was also involved with another girl who
22 used to do our laundry and I once saw him push her against a wall in a sexual way while
23 kissing. I quickly walked away because I didn’t know what to do. She also told me that
24 the Warden told her that he loved her and that they were going to make a life together. I
25 heard he bought her earrings in in exchange for their sexual relationship. Later she
26 admitted to me that he had and that she was scared of him.
27                 6.     Officer Nunley, who was in charge of UniCor, abused my best friend in the
28 facility. She told me that he wrote her a letter and ejaculated on the letter and sent it to her.
     [4313435.1]                                        1
       DECLARATION OF T                T        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                                 INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-13 Filed 08/17/23 Page 3 of 7




 1 He also made her give him oral sex against her will. At first my friend did not tell me
 2 about this abuse. I knew she had experienced abuse as a child and that the abuse from
 3 Nunley affected her. I saw her whole behavior and personality change after the abuse from
 4 Nunley. She finally confided in me and told me everything—she was very emotional and
 5 started crying. I know Officer Nunley did the same thing to others because another person
 6 also told me that Officer Nunley made her gave him oral sex. I could see the change in her
 7 as well even before she told me because she became withdrawn. When she told me she
 8 said she did not know who to talk to and I told her to go to SIS. If SIS did anything about it
 9 we never saw anything and it appeared she was retaliated against because I saw her room
10 get searched multiple times after she reported, more often then anyone else. I watched as
11 they searched her room and took her stuff include legal correspondence she had. Seeing
12 this made it clear that if you report anything you will be retaliated against.
13                 7.   I also took the first class that the former Chaplain Highhouse taught. When
14 he was teaching the class, he often spoke about inappropriate topics such as his wife,
15 girlfriends, and sex. He often said it was alright to have sex with people outside of
16 marriage. He told us he had a girlfriend and a wife. It blew my mind that this chaplain,
17 who should be someone people trust, was speaking about these things and no one on staff
18 reprimanded him or did anything about it.
19                 8.   When I arrived at FCI Dublin in 2015 I was not provided adequate training
20 and information about how to respond to sexual abuse. I didn’t know what PREA was
21 because officers did not inform me about it. The little I did learn was from other
22 incarcerated people who told me certain things about it later.
23                 9.   There is no effective way to confidentially report sexual assault and abuse by
24 staff at FCI Dublin. I tried to help my friend report her abuse from Officer Nunley after he
25 sent her the letter. We reported it to Lieutenant Putnam and gave him the letter that
26 Officer Nunley ejaculated on. Lt. Putnam and four other officers came into the unit with
27 the medical unit and took her outside. Since that moment, we never saw her again. I think
28 she was transferred to Victorville in retaliation.
     [4313435.1]                                     2
       DECLARATION OF T             T        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                              INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-13 Filed 08/17/23 Page 4 of 7




 1                 10.   I’ve spoken to the FBI twice about my friend who was abused by Nunley and
 2 I also spoke about my friend who was abused by Warden Garcia. They asked me if I could
 3 testify against Nunley, and I agreed. I was also subpoenaed to testify in the Warden’s trial.
 4                 11.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 5 by staff and retaliate against people who do report. I don’t feel safe because all the officers
 6 protect each other to make sure reports about abuse are not released. Officers get angry
 7 when they know we speak to attorneys. They often will do shakedowns of people who
 8 speak to attorneys. They did this to me even after I emailed an attorney. They also open
 9 legal mail. My legal mail has been opened and has been stapled shut after opening. That
10 is how I know that nothing is confidential in this place.
11                 12.   Officers make it seem as if it is our fault that we are being abused and
12 harassed. For example, they told us we could no longer wear long shorts to dinner because
13 almost the whole kitchen staff was replaced for allegations of abuse or harassment. There
14 was a unit manager, Officer Korth, who tried to tell the truth about the abuse happening
15 and she ended up resigning. The facility wanted to transfer her away to another facility. I
16 know this because she told me about it and I read about it on the news.
17                 13.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
18 BOP do not seriously investigate the reports. Investigations are frequently delayed and
19 overseen by staff who know and work with the offending staff member. Generally nothing
20 happens as a result. In the past when I have tried to submit a grievance, they often refuse
21 to give me a grievance form which is the only way we can submit them. Even when I do
22 end up receiving a form successfully, they often do not accept it when I submit it. I have
23 to physically mail it myself to BOP regional in order to get any response.
24                 14.   There is little to no confidential mental health care available to survivors of
25 sexual abuse and assault at FCI Dublin. For a while there were no psychologists or
26 psychiatrists at all in the facility, more recently they brought in Tri-Valley Care. I have
27 met with TriValley care twice but it is more of a time to vent because it is a different
28 person each time and I am not sure when they will see me next. It is also difficult to have
     [4313435.1]                                      3
       DECLARATION OF T              T        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-13 Filed 08/17/23 Page 5 of 7




 1 a different person each time because you have to explain what happened over and over
 2 again. I have always considered myself someone that the younger girls can talk to but
 3 going through all of this weighs you down and I need real mental health support. I do not
 4 trust any internal psychologists so I would like to have access to external psychologists
 5 who can provide support. I thought I could trust the new psychologist Dr. Mulcahey until
 6 an issue I had with a former roommate. That roommate threatened me by saying she
 7 would falsely accuse me of sexual assault, and I told my Counselor who called the Unit
 8 Manager Craig who accused me of making a false report because I had said I did not feel
 9 safe because of how my roommate was acting. Instead of addressing my roommates
10 behavior I was moved to another unit even though I had been on the unit for 9 years. I told
11 Dr. Mulcahey I needed to talk to her about this and she told me she would put me on the
12 schedule but this was over two months ago and I still have not been put on the schedule. I
13 later heard that Unit Manager Craig is in a relationship with Dr. Mulcahey. I recently put
14 in a transfer request because I do not trust staff at FCI Dublin.
15                 15.   There is little to no medical care available to survivors of sexual abuse and
16 assault at FCI Dublin. I have nerve damage from my knees down and carpal tunnel on
17 both hands. I was supposed to receive surgery, but they only put a brace on my hands
18 instead of providing me with the surgery I need. I have been diagnosed with a rare strain
19 of anemia. I got bruises all over my body and when I told the facility about my bruises,
20 they didn’t pay any attention. The doctors told me it likely got so bad because my anemia
21 went undetected for the last ten years while I have been in BOP custody and now I have to
22 take B12 shots once a month. Medical detected signs of colon cancer over a year ago and I
23 still have not had a colonoscopy, one was scheduled at one point but I could not make it
24 due to a death in my family and it still has not been rescheduled. I am also diabetic, and I
25 get no accommodations for it—they deny me diabetic meals and when I ask for them say
26 “this is not a medical facility.” I also have dentures which were thrown away and I have
27 not had a replacement in five years. We also do not have an eye doctor or a psychiatrist.
28 Now, I just do not go to the doctor anymore because it is useless, and I have to use my own
     [4313435.1]                                      4
       DECLARATION OF T              T        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
       Case 3:23-cv-04155-YGR Document 10-13 Filed 08/17/23 Page 6 of 7




 1 money to submit sick calls and the doctors do nothing. I remain in pain every day.
 2 ///
 3 ///
 4 ///
 5 ///
 6 ///
 7 ///
 8 ///
 9 ///
10 / / /
11 / / /
12 / / /
13 / / /
14 / / /
15 / / /
16 / / /
17 / / /
18 / / /
19 / / /
20 / / /
21 / / /
22 / / /
23 / / /
24 / / /
25 / / /
26 / / /
27 / / /
28 / / /
    [4313435.1]                                 5
      DECLARATION OF T         T        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-13 Filed 08/17/23 Page 7 of 7
